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                              UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF FLORIDA
                                      (Miami Division)


  CARIB RESORTS, INC., a Florida corporation
                                                                         CASE NO.: __________________
             Plaintiff,

  vs.

  SUTTONGATE HOLDINGS, LIMITED; and
  CARNIVAL CORPORATION;

        Defendants.
  ________________________________________/

                                                 COMPLAINT


        1.    This is an action for injunctive relief and for damages pursuant to 42 U.S.C. §1983
  based upon the continuing violations of Plaintiff’s rights under the Fifth and Fourteenth
  Amendments to the United States Constitution, and for damages under Florida law.

                                                   The Parties

        2.    Plaintiff CARIB RESORTS, INC. (“Plaintiff” or “CARIB”) is a Florida corporation in
  the business of operating “shore excursions” for customers of cruise lines, including
  CARNIVAL as alleged in greater detail herein.
        3.    Plaintiff conducts no business, and has no offices, employees, or property, in the State
  of New York.
        4.    Defendant SUTTONGATE HOLDINGS LIMITED (“SUTTONGATE”) is, upon
  information and belief, a Gibraltar corporation litigating in the courts of New York, having
  attorneys in New York, and instituting the garnishment proceeding which is the subject of this
  action from New York.
        5.    Defendant CARNIVAL CORPORATION (“CARNIVAL”) is a Panama corporation
  which does business under trade names including Carnival Cruise Lines, having its principal



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  place of business, executive offices, account payable and accounting functions, all located in the
  Southern District of Florida.

                                            Jurisdiction and Venue

     6.    Jurisdiction exists pursuant to 28 U.S.C. §1331 and 1343 based on 42 U.S.C. §1983 and
  questions of federal constitutional law.
     7.    Jurisdiction also exists under the Declaratory Judgment Act, 28 U.S.C. §§2201(a) and
  2202.
     8.    This Court has supplemental jurisdiction over Plaintiff’s state law claims pursuant to 28
  U.S.C. §1367.
     9.    SUTTONGATE is subject to the jurisdiction of this court on the following grounds:
             a. Committing tortious acts in the State of Florida, including effecting the seizure of
                Plaintiff’s Property (defined herein) located in Florida in violation of Plaintiff’s
                due process rights. Fla. Stat. §48.193(1)(a)(2).
             b. Committing tortious acts in the State of Florida, including interfering with the
                contractual relationship of Plaintiff, and CARNIVAL, both headquartered in
                Florida, whose contract provides for application of Florida law and Florida venue
                for litigation. Fla. Stat. §48.193(1)(a)(2).
             c. Asserting an in rem interest in Property (defined below) located in this district,
                payable from corporate offices of CARNIVAL in Florida, to the Plaintiff also in
                Florida, under a contract providing for application of Florida law and Florida
                venue.


     10. While SUTTONGATE’s actions were initiated outside of Florida, it intentionally
  served CARNIVAL with the improper Restraining Notice, knowing that it was headquartered in
  Florida but also subject to New York jurisdiction, and intending that the Restraining Notice
  would cause CARNIVALS’ Florida administrative offices to not pay a Florida debt owed to
  CARIB, also located in Florida, intending to cause harm, and in fact causing harm, in Florida,
  interfering with a Florida business relationship, effectively seizing an asset located in Florida,
  and depriving a Florida party of due process.
     11. SUTTONGATE’s actions to seize Florida Property, defame a Florida business, and to
  injure a Florida business are such that it should reasonably expect to be hailed into court in
  Florida to defend its actions.


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     12. CARNIVAL conducts regular and ongoing business in Florida, having its corporate
  headquarters at 3655 NW 87th Ave., Miami, Florida 33178.
     13. Venue is proper in the Southern District of Florida in that the events and conduct
  complained of herein occurred in this district, and in that the parties, including SUTTONGATE,
  claim the right to personal property located in this district.



                     SUTTONGATE’s Seizure of CARIB’s Property in Florida


     14. Plaintiff and CARNIVAL have between them a contract, titled Shore Excursion
  Agreement, pursuant to which Plaintiff operates shore excursions such as a dolphin encounter,
  stingray encounter, food and beverage concessions and retail facilities, servicing customers of
  CARNIVAL.
     15. In return for these services, CARNIVAL pays Plaintiff, and those payments account for
  a significant portion of Plaintiff’s revenues. The contract payments from CARNIVAL to CARIB
  are referred to herein as “the Property”.
     16. CARNIVAL pays CARIB from its administrative and accounting offices in Miami, and
  payment is delivered to CARIB at its offices in Miami.
     17. SUTTONGATE purports to hold a judgment entered in the courts of New York, against
  parties including a person named Samir Andrawos (“Andrawos”) who is an employee of CARIB,
  and was formerly a 50% shareholder of CARIB.
     18. Upon information and belief, in the course of investigating its judgment debtor,
  SUTTONGATE learned that its judgment debtor Andrawos is paid by CARIB (he receives a
  salary). SUTTONGATE further learned that CARIB contracts with CARNIVAL which pays
  CARIB.

     19. In an apparent effort to coerce payment of its judgment, SUTTONGATE, through its
  attorneys acting as its agents in New York, issued a legal paper captioned “Restraining Notice to
  Garnishee” (“Restraining Notice”), which it served on CARNIVAL as garnishee, in New York.
     20. A copy of the Restraining Notice is attached hereto as Exhibit “A”.



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     21. The Restraining Notice advises CARNIVAL that judgment debtor Andrawos has some
  undefined “interest” in CARIB, which pays Andrawos, states that CARNIVAL owes a debt to
  the judgment debtor or has possession of property “in which the debtor(s) has an interest”, and
  instructs CARNIVAL that it must, pursuant to New York law, restrain that property. As a result,
  payments that CARNIVAL would otherwise pay to CARIB under the parties’ contract are
  restrained and denied to CARIB, to enforce a judgment against an employee of the company.
     22. The effect of the restraint is ongoing, similar to a continuing writ of garnishment, for a
  period of a year.
     23. In the event CARNIVAL disposes of the property in which SUTTONGATE alleged its
  judgment debtor has some interest, the Restraining Notice tells CARNIVAL that it will be liable
  for those sums to SUTTONGATE, and that “disobedience of this Restraining Notice is
  punishable as a contempt of court”.
     24. The result of the Retraining Notice, exactly as intended by SUTTONGATE, was that
  CARNIVAL has held the contractual payments then due to CARIB (at first approximately
  $40,000.00), and which continue to come due to CARIB as CARIB performs contractual
  services for CARNIVAL (now collectively in excess of $200,000.00 and growing).
     25. While CARIB owes no obligation to SUTTONGATE, SUTTONGATE has been able to
  utilize the New York statute for restraining notices to effect a tremendous hardship on CARIB,
  which continues to perform services honoring its contract with CARNIVAL, but which has lost a
  large portion of its revenue from which to pay business expenses. This untenable situation of
  expenses without revenue threatens catastrophic damage to, or the complete loss of, the business,
  and to put over a hundred other people who rely on CARIB for income, out of their livelihoods.
     26. Upon information and belief, CARNIVAL has held CARIB’s payments, over CARIB’s
  protests, under fear that if it failed to do so, it would be liable to SUTTONGATE or in contempt
  of the court in New York.
     27. CARIB is not a party to any judicial proceeding in New York or elsewhere involving
  SUTTONGATE, has not been named by SUTTONGATE in the New York collection litigation,
  is not subject to jurisdiction in New York, was not involved in the actions underlying the
  judgment, and has not been adjudicated to owe any monies to SUTTONGATE.



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      28. SUTTONGATE issued the Restraining Notice knowing and intending that the result
  would be seizure of CARIB’s payments, due from CARNIVAL, despite that CARIB does not
  owe SUTTONGATE money.
      29. SUTTONGATE has no alleged, and facts to not exist, as would justify piercing the
  corporate veil of CARIB, that the Property is a fraudulent transfer, or any other theory of liability
  of CARIB to SUTTONGATE. Even if Andrawos were still a shareholder in CARIB,
  corporations are not liable for the debts of their shareholders, and there is no basis pled or
  otherwise to ignore CARIB as a corporation and to seize its assets and destroy its business.
      30. Plaintiff has demanded that SUTTONGATE release its property, but SUTTONGATE
  has refused, and all conditions precedent to this action, to the extent any exist, have been
  performed.



                                                  COUNT I
                                               42 U.S.C. §1983

      31.   Plaintiff realleges and incorporates the allegations set forth in paragraphs 1 through 30
  above as if set forth fully herein.
      32. Defendant SUTTONGATE and its employees and agents have, under color of statute,
  deprived CARIB of its constitutional right to not have its Property seized without due process of
  law, in violation of the Fourteenth Amendment to the United States Constitution.
      33. SUTTONGATE, through its attorneys, acted under color of state law, as follows:
               a. the Restraining Notice specifically references and recites §5222 of the Civil
                  Practice Law and Rules (CPLR) of New York, and those remedies exist within a
                  framework of statutes for restraint and turnover of money or property of judgment
                  debtors ultimately enforced by courts, clerks and sheriff’s;

               b. CPLR §5222(a) provides that to the extent an attorney issues a restraining notice,
                  they do so “as officer of the court”, making SUTTONGATE’s attorney an
                  instrument of the state;

               c. the Retraining Notice is issued on legal case caption, under the banner of the
                  “Supreme Court of the State of New York”, stating that it is from “THE PEOPLE
                  OF THE STATE OF NEW YORK”, all evincing state action;




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                d. the Retraining Notice states that it is enforceable by the contempt powers of the
                   court, meaning that the court, sheriff and creditor must work in tandem to
                   accomplish the objective;

                e. while a restraining order merely directs that monies or property be held
                   indefinitely, the ultimate objective is a turnover proceeding, aided by the sheriff,
                   to move the money or property to the possession of the judgment creditor.

     34. From the standpoint of CARIB, SUTTONGATE’s actions constitute a pre-judgment
  garnishment, without CARIB being named a party in the proceeding, without advance notice of
  the intended seizure, without review by a neutral officer, without even allegations of any factual
  basis, without any required statement being made under oath, without any adjudication of
  CARIB’s liability, without a meaningful opportunity for a hearing, and without the protection of
  a bond or other security against its damages.
     35. The effect of SUTTONGATE’s Restraining Notice was to deprive CARIB of its
  Property without any semblance of due process.
     36. Another effect of the Restraining Notice is that Plaintiff’s Property was seized by
  process in a court over twelve-hundred miles away, despite that the Property, and Plaintiff itself,
  are both located in Florida and are beyond the territorial jurisdiction of the New York court the
  adjudicate.
     37. If SUTTONGATE believes CARIB is liable on the debtor of Andrawos, it has the right
  to domesticate its judgment to Florida and enforce it through legitimate means that afford notice
  and due process to CARIB, and where any prejudgment remedies are appropriately secured by a
  bond and other due process. Instead, SUTTONGATE opted to take advantage of an
  unconstitutional wrinkle in New York law to seize CARIB’s assets without affording it due
  process.

             New York’s Restraining Order Procedure in CPLR §5222 is Unconstitutional

     38. A restraining notice under New York’s CPLR §5222 is not controversial where it is
  directed to a garnishee who owes a debt to the judgment debtor. However the statute confers an
  additional power on the creditor. It expressly permits a judgment creditor to specify in the paper
  “that the judgment debtor … has an interest in specified property in the possession of the
  [garnishee]” (emphasis added), whereupon the notice restrains that specified property despite

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  that it is nominally or actually owned by a third party. CPLR §5222(b). A copy of the statute is
  attached here to as Exhibit “B”.
      39. Once a debt or property has been specified in the notice, as property in which the
  judgment debtor has an interest, the garnishee may only dispose of that property or pay that debt
  “upon direction of the sheriff or pursuant to an order of the court”. Id. If the garnishee disposes
  of the property specified, then it is in contempt of court and at risk of double liability.
      40. By this device of specifying property, the creditor can capture the interests of third
  parties summarily, without any protection of the third parties’ rights. For example, creditors can
  use the retraining order to seize debts alleged to have been fraudulently transferred to third
  parties. See e.g. Plaza Hotel Assocs. v. Wellington Assocs., 84 Misc. 2d 777 (Sup. Ct. N.Y.
  County 1975) (judgment creditor was not required to pursue fraudulent transfer remedies and
  could simply proceed under CPLR article 52).
      41. The creditor’s allegation of an “interest” in specific property is not required to be made
  under oath, is not made with any specificity, is not reviewed by a judicial officer for sufficiency,
  or even by the clerk’s office, and is not limited to property within the jurisdictional powers of the
  court.
      42. CPLR §5222 becomes particularly unconstitutional where it permits the seizure of
  property or debts owed to a non-debtor third party, and the third party and the property seized,
  are thousands of miles away, outside the jurisdictional reach of the New York court.
      43. The seizure of third party property as authorized by CPLR §5222 is pre-judgment from
  the standpoint of the third party, and can be invoked even where the New York court has not
  taken (and may not have) jurisdiction over the third party, has not afforded the third party
  advance notice before seizure of its property, without a bond, and without any of the required
  protections afforded to parties subjected to prejudgment garnishment or attachment. Any right to
  a post-seizure hearing in New York is not a “meaningful” hearing since it requires travel across
  the country and submission to a court that lacks jurisdiction over the party.
      44. As a direct and proximate consequence of SUTTONGATE’s actions, under the color of
  New York’s CPLR §5222, Plaintiff has suffered and continues to suffer loss of its Property and
  other damages, and is entitled to recover its Property and compensatory damages and attorneys’
  fees.


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      45. SUTTONGATE’s actions were intentional and calculated to harm a third party
  (Plaintiff) over whom it knew the courts of New York had no power, whose rights were never
  adjudicated, and who owed no money on the judgment. Such conduct is malicious, oppressive
  and in reckless disregard for Plaintiff’s rights. This Court should award Plaintiff punitive
  damages to punish and deter future similar actions by SUTTONGATE.


            WHEREFORE, Plaintiff prays this court take jurisdiction over this cause, grant Plaintiff
  declaratory relief as to the violation of its due process rights and its entitlement to return of its
  Property, grant Plaintiff preliminary and permanent injunctive relief by directing
  SUTTONGATE to withdraw its notice and CARNIVAL to release Plaintiff’s Property, and
  award the Plaintiff compensatory and punitive damages, attorneys’ fees pursuant to 42 U.S.C.
  §1988, and costs all against SUTTONGATE, and for any further or additional relief the Court
  deems appropriate.



                                       COUNT II
                         TORTIOUS INTERFERENCE WITH CONTRACT

      46.     Plaintiff realleges and incorporations the allegations set forth in paragraphs 1 through
  30 above as if set forth fully herein.

      47. Plaintiff CARIB enjoys a contractual, and beneficial business relationship, with
  CARNIVAL.
      48. At all times relevant hereto, including prior to issuance of the Restraining Order,
  SUTTONGATE knew of Plaintiff’s relationship with CARNIVAL.
      49. SUTTONGATE issued the Restraining Notice knowing that any interest its judgment
  creditor may have in CARIB or in payments from CARIB, would not justify making CARIB
  legally responsible for payment of the judgment, and would not justify seizure of CARIB’s
  payments from CARNIVAL.
      50. SUTTONGATE also knew that CARIB was located in Florida, rendering it impractical,
  expensive and burdensome to oppose the garnishment proceeding in New York, but proceeded




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  with the Restraining Notice nonetheless, to wrongfully and spitefully restrain CARIB’s payments
  in hope of harming the interests of its judgment debtors and of CARIB.
     51. Plaintiff has been damaged by SUTTONGATE’s wrongful and unjustified interference
  with its contractual relationship.


     WHEREFORE, Plaintiff prays this court take jurisdiction over this cause, award Plaintiff
  damages and costs against SUTTONGATE, and for any further or additional relief the Court
  deems appropriate.



                                               COUNT III
                                              DEFAMATION

     52.    Plaintiff realleges and incorporations the allegations set forth in paragraphs 1 through
  30 above as if set forth fully herein.
     53. SUTTONGATE’s improper Restraining Notice reflects false statements regarding
  Plaintiff CARIB set out on its face, including that CARIB was making payments to the judgment
  debtor that would constitute fraudulent transfers or otherwise justify seizure of CARIB’s
  payments, that the judgment debtor had some “interest” in the payment by CARNIVAL to
  CARIB, that CARIB was a mere instrumentality of the judgment debtor subject to having its
  corporate veil pierced, or that CARIB was otherwise engaging in bad conduct with the judgment
  debtor so as to justify seizure of its contractual payments from CARNIVAL.
     54. The publication of these false statements in the Restraining Notice was not privileged
  because SUTTONGATE abused any privilege by exceeding the lawful limits of judgment
  enforcement.
     55. SUTTONGATE knowingly made the false statements and intentionally published them
  to CARNIVAL, knowing and intending that CARIB would be harmed in its relationship with
  CARNIVAL through the false and harmful statements.
     56. Plaintiff CARIB has been damaged by SUTTONGATE’s false and defamatory
  statements.




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      WHEREFORE, Plaintiff prays this court take jurisdiction over this cause, grant Plaintiff
  judgment for damages against SUTTONGATE, and for costs, and for any further or additional
  relief the Court deems appropriate.


                                        INJUNCTIVE RELIEF

      57. Plaintiffs reallege and incorporate the allegations set forth in paragraphs 1 through 30
  and 32 through 45 as though fully set forth herein.
      58. Plaintiff is suffering immediate and compounding damage which rapidly grows larger
  as it continues servicing the needs CARNIVAL without compensation.
      59. Defendant SUTTONGATE’s actions have resulted and will result in irreparable injury
  to Plaintiff and Plaintiff’s business is being destroyed and the over one hundred people relying
  on Plaintiff for their livelihood will be likewise harmed, as is Carnival if Plaintiff cannot
  perform.
      60. There is no plain, adequate or complete remedy at law to address the wrongs described
  herein, in that delayed relief may come after the financial demise of Plaintiff as a business and
  Plaintiff cannot be compelled to cross the country and subject itself to courts which have no
  jurisdiction in the matter.
      61. Plaintiff has communicated with SUTTONGATE by letter explaining its non-liability to
  SUTTONGATE and demanding that SUTTONGATE releases its hold on Plaintiff’s Property,
  but SUTTONGATE has refused to release Plaintiff’s Property because it wishes to retain its
  unlawful leverage on its judgment debtor by threatening destruction of his employer.
      62. Unless restrained by this Court, Defendant will continue to implement its scheme of
  unlawful seizure until Plaintiff’s business is destroyed and its value is entirely lost.
      63. Defendants’ acts alleged above violate established constitutional rights of Plaintiff and
  Defendant SUTTONGATE could not reasonably have thought that the conduct of its agents and
  employees in seizing and destroying Plaintiffs’ Property was lawful.
      64. An actual controversy exists between Plaintiff and Defendants in that Defendant
  SUTTONGATE, its agents and employees, have engaged in the unlawful and unconstitutional
  acts alleged herein and intend to continue to do so. Plaintiff claims that these acts are contrary to
  law and seeks a declaration of its rights with regard to this controversy.

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     65. As a direct and proximate consequence of the acts of Defendant’s agents and
  employees, Plaintiff has suffered and will continue to suffer damages through injury to its
  business, loss of the Property, stripping Plaintiff of the Property needed to sustain its business,
  and placing Plaintiff at serious and immediate risk of catastrophic loss.

     WHEREFORE, Plaintiffs pray as follows:

     1. For a temporary restraining order, preliminary and permanent injunction, directing
        CARNIVAL to release the Property, and enjoining and restraining SUTTONGATE from
        proceeding in New York against Plaintiff and its Florida assets;

     2. For a declaratory judgment that Defendant’s actions, under color of the authority of New
        York’s CPLR §5222, as alleged herein, violate Plaintiffs’ rights under the United States
        Constitution;

     3. For damages in an amount to be determined according to proof.

     4. For costs of suit and attorney fees as provided by law.


  Dated and Filed: November 6, 2019


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                                               __s/ James J. Webb________________
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